           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:08cr128-1


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
GLENDA ALBRIGHT ADAMS.    )
                          )


       THIS MATTER is before the Court on the Defendant’s filing [Doc.

459], which the Court construes as a motion to reduce sentence pursuant

to 18 U.S.C. § 3582(c).



I.     PROCEDURAL BACKGROUND

       On February 25, 2009, the Defendant pled guilty pursuant to a plea

agreement to one count of conspiring with others to possess with intent to

distribute fifty grams or more of cocaine base, in violation of 21 U.S.C. §§

846 and 841(a)(1). [Doc. 170]. On July 23, 2009, the Court sentenced the

Defendant to 97 months’ imprisonment and three years of supervised

release. [Doc. 256]. The Defendant appealed her sentence. On




     Case 1:08-cr-00128-MR-WCM   Document 467    Filed 03/24/11   Page 1 of 4
September 24, 2010, the Fourth Circuit Court of Appeals affirmed. United

States v. Adams, 396 F. App’x 953 (4th Cir. 2010).

        The Defendant now moves for a reduction of her sentence based

upon the Fair Sentencing Act of 2010, which amended the provisions of 21

U.S.C. § 841(b) by increasing the amount of crack cocaine required to

trigger mandatory minimum sentences. [Doc. 459]. The Court will

construe the Defendant’s pro se filing as a motion for a reduction of

sentence pursuant to 18 U.S.C. § 3582(c).



II.     ANALYSIS

        A district court may modify a term of imprisonment only in limited

circumstances. See 18 U.S.C. § 3582(b), (c). Specifically, “a district court

‘may not modify a term of imprisonment once it has been imposed’ unless

the Bureau of Prisons moves for a reduction, the Sentencing Commission

amends the applicable Guidelines range, or another statute or Rule 35

expressly permits the court to do so.” United States v. Goodwyn, 596 F.3d

233, 235 (4th Cir. 2010) (quoting 18 U.S.C. § 3582(c)). None of these

circumstances is applicable in the present case.




                                        2


      Case 1:08-cr-00128-MR-WCM    Document 467   Filed 03/24/11   Page 2 of 4
      First, the Bureau of Prisons has not moved for a reduction of the

Defendant’s sentence. See 18 U.S.C. § 3582(c)(1)(A). As for the second

circumstance, 18 U.S.C. § 3582 provides that the Court may modify a

defendant’s sentence if the defendant was sentenced to a term of

imprisonment based on a sentencing range that was subsequently lowered

by the Sentencing Commission pursuant to 28 U.S.C. 994(o), “if such a

reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Section 1B1.10 of the

Guidelines sets forth the Sentencing Commission’s policy statement with

respect to reductions in sentence based on subsequent amendments and

specifically identifies those amendments that courts may apply retroactively

pursuant to § 3582(c)(2). See U.S.S.G. § 1B1.10(a)(2)(A). There is no

amendment listed in subsection (c) that lowers a Guidelines range due to

the Fair Sentencing Act. See United States v. Millhouse, No. 7:04-CR-85-

F3, 2010 WL 4338383, at *2 (E.D.N.C. Oct. 22, 2010). As such, §

3582(c)(2) does not serve as a basis to reduce the Defendant’s sentence.

     With respect to the third circumstance, Rule 35 is not applicable to

this case and therefore cannot serve as a basis to reduce the Defendant’s

sentence. Nor is there any federal statute that expressly permits the



                                      3


   Case 1:08-cr-00128-MR-WCM    Document 467    Filed 03/24/11   Page 3 of 4
modification of the Defendant’s sentence. The Fair Sentencing Act of 2010

itself does not apply retroactively. United States v. Nelson, No. 09-4297,

2010 WL 4676614, at *1 (4th Cir. Nov. 18, 2010).

      For these reasons, the Court concludes that the Defendant is not

entitled to a sentence reduction pursuant to § 3582(c). Nonetheless,

because the Sentencing Commission may determine in the future to make

the Fair Sentencing Act retroactive, this motion will be denied without

prejudice. See Millhouse, 2010 WL 4338383, at *2 n.1.



                                 ORDER

      IT IS, THEREFORE, ORDERED that the Defendant’s filing [Doc.

459], which the Court construes as a motion to reduce sentence pursuant

to 18 U.S.C. § 3582(c), is DENIED.

      IT IS SO ORDERED.

                                      Signed: March 23, 2011




                                      4


   Case 1:08-cr-00128-MR-WCM     Document 467    Filed 03/24/11   Page 4 of 4
